           Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.1 Page 1 of 12
AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT Cou T                                             FILED
                                                                      for the
                                                         Southern District of California                         AUG 0 2 2018
                                                                                                      CLEHK Ufi iJISTRICT COURT
               In the Matter of the Search of                           )                          SOUTHERN DISTRICT- OF CALIFORNIA
         (Briefly describe the property to be searched                  )                          BY               '       DEPUTY
          or identifY the person by name and address)                   )        Case No.
Google Account with User ID: Airn123475@gmail.com                       )
                                                                        )
                                                                        )                            1 BMJ4289
                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identifY the person or describe the
property to be searched and give its location):

  See Attachment A

located in the      ~e./'l1                       District of _   __.?If=""'--~-------- ,there is now concealed (identifY the
person or describe the property to be seized):

 See Attachment B

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 ~evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                     Offense Description
        18 USC 2113(a)                             Bank Robbery and Attempted Bank Robbery



         The application is based on these facts:
        Please see attached affidavit from FBI Special Agent Brandon Cagle


           0
           0                                                                                         _ _ _ _ _ ) is requested




                                                                                      Brandon Cagle, FBI Special Agent
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:    4fejt~
City and state: San Diego, California                                            Hon. Barbara L. Major, U.S. Magistrate Judge
                                                                                             Printed name and title
       Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.2 Page 2 of 12




 1   AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
 2         I, Brandon Cagle, being duly sworn, hereby state as follows:
 3                                    INTRODUCTION
 4         1.     I am a Special Agent (SA) with the Federal Bureau of Investigatio
 5   (FBI), and have been so employed since October 2014. I am currently assigned t
 6   the San Diego Field Division, North County Resident Agency (NCRA). Prior t
 7   joining the FBI, I was a Police Officer with the Riverdale, Illinois Polic
 8   Department, serving from July 2013 until October 2014. In my capacity as a Polic
 9   Officer, I identified, pursued, and arrested suspects and perpetrators of criminal acts.
1O I recorded facts to prepare reports that documented incidents and activities and
11   reviewed facts of incidents to determine if criminal acts or statute violations wer
12   involved.
13         2.     During my time at the NCRA, I have had personal contact wit
14   numerous admitted or known criminals and their associates and have discussed thei
15   lifestyle, and methods of operations regarding violent and property crimes. I hav
16   participated in investigations involving criminal activity including, but not limite
17   to criminal street gangs, white collar crime, computer crimes, and violent crimes.
18   have received training and gained experience in interviewing and interrogatio
19   techniques, arrest procedures, search warrant applications, the execution of searche
20   and seizures, computer crimes, computer evidence identification, computer evidenc
21   seizure and processing, and various other criminal laws and procedures. I hav
22   personally participated in the execution of search warrants involving the search an
23   seizure of computer equipment.
24         3.     I make this affidavit in support of an application by the United State
25   of America for a search warrant for Google, Inc., 1600 Amphitheatre Parkway
26   Mountain View, California 94043, as described in Attachment A, to search th
27   following Gmail Email Account for items that constimte evidenceof violations o

                                                1
       Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.3 Page 3 of 12




 1   federal criminal law, namely, 18 U.S.C. § 2113(a), as further described i
 2   Attachments B, for the period from May 9, 2018 up and including June 19, 2018:
 3                a.    Airnl23475@gmail.com (Target Email)
 4         4.     The information set forth in this affidavit is based on my own persona
 5   knowledge, knowledge obtained from other individuals during my participation i
 6   this investigation, including other law enforcement officers, my review o
 7   documents and computer records related to this investigation, communications wit
 8   others who have personal knowledge of the events and circumstances describe
 9   herein, and information gained through my training and experience. Because thi
10   affidavit is submitted for the limited purpose of establishing probable cause i
11   support of the application for a search warrant for the Target Email, it does not se
12   forth each and every fact that I or others have learned during the course of thi
13   investigation.
14       BACKGROUND REGARDING INTERNET SERVICE PROVIDERS
15                                    GOOGLE, INC.
16         5.     Google, Inc. (Google) is an Internet company, which among othe
17   things, provides electronic communication services to subscribers. Google'
18   electronic mail service, known as Gmail, allows subscribers to communicate wit
19   other Internet Service Provider subscribers through the Internet.
20         6.     Subscribers to Google use unique screen names and/or email addresse
21   during communications with others. The screen names and/or email addresses ma
22   or may not identify the real name of the person using a particular screen name o
23   email account.
24         7.     Upon creation of a Gmail account, Google automatically makes certai
25   folders including folders for incoming messages, outgoing messages, and delete
26   messages. Users have the option to create additional folders if they desire. B
27

                                              2
        Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.4 Page 4 of 12




 1   default, Google will not delete any messages unless the user decides to do so on thei
 2   own. This can result in messages being saved for several years in each of the folders.
 3         8.     Based on my training and experience, I have learned that Google user
 4   also have access to Google Drive, a cloud based storage system. Files can be saved
 5   accessed, and deleted from multiple devices to include computers, laptops, tablets
 6   and smart phones.
 7                    FACTS IN SUPPORT OF PROBABLE CAUSE
 8         9.     On June 9, 2018, at approximately 10:44 a.m., an individual late
 9   identified as Terry Lee Taylor robbed the US Bank located at 9400 Mira Mes
10   Boulevard, San Diego, California 92126. Taylor approached the bank teller an
11   passed a demand note. The teller, who was concerned for her safety, complied an
12   provided Taylor with approximately $1,879. Taylor took the money and departe
13   the bank. Taylor entered a nearby Jack in the Box where he changed his clothes an
14   then fled the area.
15          10.   On June 12, 2018, at approximately 3:55 p.m., an individual late
16   identified as Taylor entered the Chase Bank located at 1467 Main Street, Ramona
17   California 92065. Taylor approached the bank teller and passed her a demand note.
18   The teller, who was concerned for her safety, complied and provided Taylor wit
19   $4,696. Taylor took the money and departed the bank.
20          11.   On June 14, 2018, at approximately 12:20 p.m., an individual late
21   identified as Taylor entered the Bank of America located at 1407 Main Street
22   Ramona, California 92065. Taylor entered the bank and waited behind othe
23   customers. A bank employee recognized Taylor from the security photographs fro
24   the June 12, 2018, Chase Bank robbery. The employee, fearing for the safety of othe
25   employees and customers in the bank, pressed the alarm and called 911. Taylo
26   appeared to become nervous and subsequently fled the bank without money.
27

                                               3
        Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.5 Page 5 of 12




 1         12.    On June 18, 2018, at approximately 4:55 p.m., an individual late
 2   identified as Trinity Arin Keara JONES, entered the US Bank located at 12265
 3   Scripps Poway Parkway, Poway, California 92064, and approached the telle
 4   counter. JONES stated she wanted to make a withdrawal. She then looked throug
 5   her bag for her debit card. JONES was unable to find her debit card. The teller aske
 6   JONES for an identification card in order to look up her account. JONES stated sh
 7   did not have her identification card and would come back later. JONES subsequentl
 8   exited the bank. The teller observed JONES speak with an unknown individual, late
 9   identified as Taylor, immediately outside the front of the bank. Taylor subsequentl
1O entered the bank, approached the same teller, and passed a robbery demand note.
11   The teller, fearing for her safety, complied and provided Taylor with $2,295. Taylo
12   took the money and departed the bank. The teller walked to her manager's desk an
13   saw the getaway vehicle. The teller observed a silver Dodge truck drive pass th
14   front of the bank. The teller saw JONES driving the truck, with Taylor sitting in th
15   passenger seat.
16         13.    Law enforcement found and arrested Taylor without incident on Jun
17   18, 2018. Taylor was provided with his Miranda rights. He elected to waive thos
18   rights and to make a statement. Among other admissions, Taylor admitted to robbin
19   the US Bank on June 18, 2018. Taylor also stated he used his cellphone to searc
20   online for banks in the area and how to get away with bank robberies.
21         14.    Law enforcement found and arrested JONES at her residence on Jun
22   19, 2018. JONES provided consent to search her bedroom. Law enforcement foun
23   a cellular telephone, $215 dollars, and a cash receipt for a $200 purchase. The receip
24   was date and time stamped only a few hours after the June 18, 2018, US Ba
25   robbery.
26         15.    A cellular telephone was seized during Taylor's arrest. Following hi
27   arrest, Taylor admitted to being the user of that telephone. Law enforcemen

                                               4
        Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.6 Page 6 of 12




 1   conducted a search of Taylor's cellular telephone. On June 15, 2018 at 8:40 a.m.,
 2   Taylor sent JONES a text message, on the phone found in JONES' room, whic
 3   stated "ok we can do 1 more Tuesday evening." JONES responded "Why Tuesday.'
 4   To which Taylor responded, "Because ill be out Wednesday evening."
 5         16.    A search was conducted of JONES' cellular telephone pursuant to
 6   search warrant. See 18-mj-3818. A review of the phone indicated that JONES
 7   through the Target Email, had deleted her Google internet browser history on Jun
 8   18, 2018. A physical review of JONES' Googlemaps Timeline history indicate
 9   JONES was in the vicinity of the Chase bank on June 12, 2018, during the tim
10   frame of the robbery. The history also showed that JONES was in the vicinity of th
11   Bank of America on June 14, 2018 during the attempted robbery, and was in th
12   vicinity of the US Bank on June 18, 2018, during the time of the robbery.
13   preservation letter was sent to Google, Inc. on July 5, 2018.
14         17.    In my professional training, education, and experience, bank rob be
15   conspiracies require planning and coordination in the days, weeks and often month
16   prior to the event. This planning and coordination includes communication betwee
17   co-conspirators over email and Gchat, and the use of Googlemaps. Additionally, co
18   conspirators often use their internet browser to research how to commit ba
19   robberies and how to avoid detection. Based on the information that I have gathere
20   so far in this case, I believe that there will be data contained on the Google accoun
21   associated with the Target Email that has not been captured by a search of JONES'
22   phone, such as internet search histories and navigation applications used during th
23   robberies and other information which may have been deleted off or never placed o
24   JONES' phone, that will assist law enforcement in this investigation. Given that th
25   information we have collected thus far reflects that the bank robberies began on Jun
26   9, 2018, and given that coordination and planning for bank robberies often occur
27   before the actual robberies begin, I am requesting permission to search the Googl

                                               5
        Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.7 Page 7 of 12




 1   account associated with the Target Email for evidence from May 9, 2018, throug
 2   June 19, 2018.
 3      PROCEDURESFORELECTRONICALLYSTOREDINFORMATION
 4         18.    Federal agents and investigative support personnel are trained an
 5   experienced in identifying communications relevant to the crimes unde
 6   investigation. The personnel of Google, Inc. (hereinafter "the internet servic
 7   providers" or "the ISPs") are not. It would be inappropriate and impractical fo
 8   federal agents to search the vast computer network of the ISPs for the relevan
 9   accounts and then to analyze the contents of those accounts on the premises of th
1O ISPs. The impact on the ISPs' business would be disruptive and severe.
11         19.    Therefore, I request authority to seize all content, including electroni
12   mail and attachments, stored instant messages, stored voice messages, photographs
13   and any other content from the Google account, as described in Attachments B. I
14   order to accomplish the objective of the search warrant with a minimum o
15   interference with the business activities of the ISPs, to protect the privacy of th
16   ISPs' subscribers whose accounts are not authorized to be searched, and t
17   effectively pursue this investigation, the Federal Bureau of Investigation seek
18   authorization to allow the ISPs to make digital copies of the entire contents of th
19   accounts subject to seizure. The copies will be provided to me or to any authorize
20   federal agent. The copies will be imaged and the images will then be analyzed t
21   identify communications and other electronic records subject to seizure pursuant t
22   Attachments B. Relevant electronic records will be copied to separate media. Th
23   original media will be sealed and maintained to establish authenticity, if necessary.
24         20.    Analyzing the data to be provided by the ISPs may require specia
25   technical skills, equipment, and software. It may also be very time-consuming.
26   Searching by keywords, for example, often yields many thousands of"hits," each o
27   which must be reviewed in its context by the examiner to determine whether the <lat

                                               6
        Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.8 Page 8 of 12




 1   is within the scope of the warrant. Merely finding a relevant "hit" does not end th
 2   review process. Keyword searches do not capture misspelled words, reveal the us
 3   of coded language, or account for slang. Keyword searches are further limited whe
 4   electronic records are in or use foreign languages. Certain file formats also do no
 5   lend themselves to keyword searches. Keywords search text. Many commo
 6   electronic mail, database and spreadsheet applications, which files may have bee
 7   attached to electronic mail, do not store data as searchable text. Instead, such data i
 8   saved in a proprietary non-text format. And, as the volume of storage allotted b
 9   service providers increases, the time it takes to properly analyze recovered dat
1O increases dramatically. The ISPs do not always organize the electronic files the
11   provide chronologically, which makes review even more time consuming and ma
12   also require the examiner to review each page or record for responsive material.
13          21.       Based on the foregoing, searching the recovered data for th
14   information subject to seizure pursuant to this warrant may require a range of dat
15   analysis techniques and may take weeks or even months. Keywords need to b
16   modified continuously based upon the results obtained and, depending on th
17   organization, format, and language of the records provided by the ISPs, examiner
18   may need to review each record to determine if it is responsive to Attachments B.
19   The personnel conducting the examination will complete the analysis within ninet
20   (90) days of receipt of the data from the service provider, absent further applicatio
21   to this court.
22          22.       Based upon my experience and training, and the experience and trainin
23   of other agents with whom I have communicated, it is necessary to review and seiz
24   all electronic mails that identify any users of the subject accounts and any electroni
25   mails sent or received in temporal proximity to incriminating electronic mails tha
26   provide context to the incriminating mails.
27

                                                  7
        Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.9 Page 9 of 12




 1         23.       All forensic analysis of the imaged data will employ search protocol
 2   directed exclusively to the identification and extraction of data within the scope o
 3   this warrant.
 4                     GENUINE RISK OF DESTRUCTION OF DATA
 5         24.       Based upon my experience and training, and the experience and trainin
 6   of other agents with whom I have communicated, electronically stored data can b
 7   permanently deleted or modified by users possessing basic computer skills. In thi
 8   case, only if the subjects receive advance warning of the execution of this warrant
 9   will there be a genuine risk of destruction of evidence.
10                         PRIORATTEMPTSTOOBTAINDATA
11         25.       Other than as described above, the United States has not attempted t
12   obtain this data by other means.
13                                       CONCLUSION
14         26.       Based on the foregoing, I believe there is probable cause to believ
15   items that constitute evidence and instrumentalities of violations of federal crimina
16   law, namely, 18 U.S.C. §§ 2113(a), as described in Attachment B, will be found a
17   the properties to be searched, as provided in Attachment A.
18
19
                                                     Br don Cagle
20                                                   Special Agent
21                                                   Federal Bureau of Investigation
22
23
     Subscribed and sworn before me this         Z ./}_   day of August, 2018.

24
25
26
27                                            United States Magistrate Judge

                                                 8
Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.10 Page 10 of 12




                      ATTACHMENT A
          DESCRIPTION OF PREMISES TO BE SEARCHED

       This warrant applies to information associated with the email account:

                          Airn1234 75@gmail.com

 that is stored at premises owned, maintained, controlled, or operated by
 Google Inc. Google, Inc. is an Internet Service Provider with its primary
 computer information systems and other electronic communications and
 storage systems, records and data located at 1600 Amphitheater Parkway,
 Mountain View, California 94043.
 Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.11 Page 11 of 12




                               ATTACHMENT B
                         LIST OF ITEMS TO BE SEIZED
      1.     Service of Warrant
      The officer executing the warrant shall permit Google Inc., as custodian of the
computer files described below, to locate the files and copy them onto removable
electronic storage media and deliver the same to the officer.
      2.     Items to be Provided by Google Inc.
      Items subject to seizure include all subscriber and/or user information, all
profiles, address books, detailed billing records, Googlemaps data, Internet Protocol
(IP) logs, and transactional data associated with the following Google email account
from April 1, 2018 up to and including June 20, 2018:
      Email Account:      Airn123475@gmail.com
Google Inc. shall disclose responsive data, if any, by sending to Special Agent
Brandon Cagle at 10385 Vista Sorrento Parkway, San Diego, CA 92121, using
email, the US Postal Service or another courier service.
      3.     Information to be seized by the government
      The search of the data supplied by Google Inc. pursuant to this warrant will
be conducted by the FBI as provided in the "Procedures for Electronically Stored
Information" section of the affidavit submitted in support of this search warrant and
will be limited to the period from April 1, 2018 up to and including June 19, 2018,
and to the seizure of:
      Communications, records, and attachments tending to discuss or establish the
commission of one or more bank robberies;
      Communications, records, and attachments tending to identify the user of the
account and any co-conspirators involved in the commission of one or more bank
robberies; and
  Case 3:18-mj-04289-BLM Document 1 Filed 08/01/18 PageID.12 Page 12 of 12




       Communications, records, and attachments that provide context to any
communications described above, such as electronic mail sent or received in
temporal proximity to any relevant electronic mail and any electronic mail tending
to identify users of the subject account;
       Search history relevant to the bank robberies detailed in the affidavit;
      Any and all available location information relevant to the bank robberies
detailed in the affidavit;
       Any and all location settings (such as location-based reminders set up by an
individual using the account), Home screen and app organization relevant to the bank
robberies detailed in the affidavit;
      All records pertaining to communications between Google and any person
regarding the account, including contacts with support services and records of action
taken, from April 1, 2018 to June 19, 2018; and
      The identity of the person(s) who created the email account, and who have
access to the account, including records that help reveal the whereabouts of such
person(s).
Which are evidence of violations of Title 18, United States Code, Section
2113(a).
